                Case 23-11339-MAM                   Doc 34         Filed 03/20/23            Page 1 of 12




                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                    (West Palm Beach Division)
                                      www.flsb.uscourts.gov

IN RE:                                                               CASE NO. 23-11339-MAM
                                                                     Chapter 11
ATLANTIC ACCEPTANCE CORP.,


                  Debtor.
                                                          /


    PLAINTIFFS’ VERIFIED EMERGENCY MOTION FOR ACCESS TO CRITICAL
      CERTIFICATE OF TITLE MANAGEMENT SOFTWARE AND SERVICING
                              RECORDS

         Secured Creditors Walter Auto Loan Trust, AgoraTrade, LLC, AgoraTrade LLC as Trust

Manager and Beneficiary of the Walter Auto Loan Trust, Agora Data, Inc. and Walt, LLC

(“Agora”), by and though their undersigned counsel, hereby submit this Verified Emergency

Motion (“Motion”) and sets forth:

                    PRELIMINARY STATEMENT – RELIEF REQUESTED1

         Agora files the instant Motion against the Debtor seeking: i) access to Debtor’s certificate

of title software program, Auto Data Direct (“ADD 123”), and to prohibit Debtor from voiding or

releasing liens to vehicles securing Retail Installment Sales Contracts (“RICs” or “Receivables”)

sold to Agora under a Master Receivables Agreement (“MRA”); (ii) produce to Agora any notices

received by mail or email from impounds, insurance companies, dealers, bankruptcy courts; (iii)

cease all communications with Agora’s customers and the dealers; and (iv) refer any inquiries from



1
  Should an expedited hearing be set, undersigned counsel respectfully requests the Court not hold the hearing on
March 27, 2023 due to an in-person trial conflict in the case of In Re: Florida Safety Institute, LLC, Middle District
of Florida, Case No. 3:22-bk-01926-JAB.



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                Case 23-11339-MAM                Doc 34         Filed 03/20/23            Page 2 of 12

CASE NO.: 23-11339-MAM


Agora’s customers to Agora. Agora requires access to ADD123 to ensure that the certificates of

title to the vehicles that are collateral to the Retail Installment Sales Contracts it purchased from

Debtor properly note Agora or Atlantic Acceptance as the first lienholder. Further, Debtor is

required to turn over all mail and emails from impounds, insurance companies, dealers, bankruptcy

courts, and paper titles because the MRA executed between the parties requires Debtor to do so

and it is critical for proper loan servicing. Additionally, Agora requires the bankruptcy notices to

ensure it is not violating the automatic stay, or court orders. Moreover, Agora requires these

notices to minimize fees, fines, risks of loss due to lien foreclosures or abandonment. Finally,

Agora requires the Debtor to cease all communications with Agora’s customers and dealers and to

refer all Agora’s customers’ inquiries to Agora to prevent any interference with Agora’s ownership

of the loans, or with its loan servicing.

           1.   Agora is a financial technology company that provides independent automobile

dealerships and finance companies with loan performance analytics and affordable access to

capital.

           2.   Atlantic Acceptance Corp,. (“Debtor”) is a for-profit corporation duly organized

under the laws of the state of Florida with its principal place of business in Palm Beach County,

Florida.

           3.   Debtor provides consumer financing for the purchase of automobiles from dealers

with whom Debtor conduct business. When the dealers’ customers purchase vehicles on credit,

they execute a RIC, that specifies the customer’s monthly payments and makes clear that if the

customer defaults under the RIC the vehicle may be repossessed and sold.

           4.   On June 17, 2022, Walter Auto Loan Trust and Debtor executed an MRA whereby

Debtor agreed to “sell, transfer, assign, set over and otherwise convey to Plaintiffs … all right title

                                                              2
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              Case 23-11339-MAM                  Doc 34         Filed 03/20/23            Page 3 of 12

CASE NO.: 23-11339-MAM


and interest in, to and under” RICs Defendants originated. A redacted copy of the MRA is attached

hereto as Exhibit 1.

        5.      On or about September 30, 2022, WALT, LLC, and Debtor executed a Second

MRA whereby Debtor agreed to “sell, transfer, assign, set over and otherwise convey to Plaintiffs

… all right title and interest in, to and under” RICs Defendants originated. A redacted copy of the

second MRA is attached hereto as Exhibit 2.

        6.      Pursuant to the MRAs, Debtor sold seven hundred and forty-seven (747) RICs

originated by them to Agora. A list of the RICs purchased by Agora is attached as Exhibit 3. Once

a portfolio of RICs is sold, all of Debtor’s right, title and interest in, to, and under the portfolio is

transferred to Agora as of the “Closing Date” as that term is defined in the MRAs.

        7.      As an express condition of the MRAs, each portfolio sold to Agora would be

classified as a “True Sale” for purposes of the Uniform Commercial Code (“UCC”) - meaning that

at the time of the closing of the purchase, the RICs purchased by Agora were no longer Debtor’s

property.

        8.      Agora purchased hundreds of Receivables from Debtor. Receivables are defined by

the MRAs as the RICs or Contracts, subject of the MRAs purchased by, and transferred to, Agora.

        9.      Shortly after Agora purchased the Receivables, the customers who purchased the

vehicles were informed of the sale and assignment of the RICs and were informed where payments

should be directed in the future. (The customers are referred to in the MRAs as “Obligors”).

        10.     As part of the sale of the RICs, Agora took possession of the original RICs executed

by the Obligors which evidence the Receivables. Such originals constitute “tangible chattel paper”

under the UCC. Agora’s taking possession of the chattel paper perfected the sale as required under

the UCC.

                                                              3
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              Case 23-11339-MAM                  Doc 34         Filed 03/20/23            Page 4 of 12

CASE NO.: 23-11339-MAM


       11.     Agora own these original RICs and the Receivables.

       12.     Agora paid good and valuable monetary consideration to Debtor when Agora, in

good faith, purchased the Receivables from Debtor and took possession of the original RICs

representing the Receivables in the ordinary course of its business. Indeed, Agora became a bona

fide purchaser of the Receivables when it purchased and obtained possession of them.

       13.     Agora, through their agent, Westlake Services LLC (“Westlake”), began

servicing the RICs that were sold to it.

   A. Defendants’ Failure to Fund Dealers

       14.     Automobile             dealerships             contract           with          Debtor      to   fund

consumer loans to customers to purchase vehicles.

       15.     After the customers execute an RIC, the dealer immediately assigns the RIC to the

Debtor, which is noted on the RIC.

       16.     Debtor subsequently sells the RIC to Agora, which remits the purchase funds to the

Debtor.

       17.     Debtor is required to pay the automobile dealerships before Agora pays the Debtor

for acquisition of the RICs but Debtor failed to do so.

       18.     When Debtor sold the RICs to Agora, Debtor furnished falsified and inaccurate

ACH forms with the RICs and originating loan documents to Agora. Also, Debtor, on numerous

occasions, furnished checks to the dealerships that bounced for insufficient funds. Agora later

discovered that numerous automobile dealerships had not been provided with the promised

funding by Debtor.

       19.     Agora made demand (“Demand”) against Debtor to provide the promised financing

to the originating dealerships. A copy of the Demand is attached as Exhibit 4.

                                                              4
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               Case 23-11339-MAM                  Doc 34         Filed 03/20/23            Page 5 of 12

CASE NO.: 23-11339-MAM


        20.     Since furnishing the Demand, dozens of additional dealerships have come forward

to advise Agora that the Debtor failed to fund the RICs that Agora was assigned.

        21.     As of the filing of this Motion, Agora have identified over one hundred (100)

dealerships that have claimed that they have not been funded in violation of the Debtor’s

representations and warranties in the MRAs.

        22.     Attached to this Motion are forty-one declarations submitted to Agora by

dealerships across the country attesting to Debtor’s failure to fund deals that were assigned to

them and then subsequently assigned to Agora. The declarations are attached as Composite

Exhibit 5.

        23.     The dealers attest that their businesses have been irreparably harmed as a result of

Debtor’s failure to fund the purchase of the RICs from the dealerships and that the dealers’

relationships with their customer base have been adversely affected. See Exhibit 5.

        24.     As a result of Debtor’s failure to fund dealerships and failure to respond to inquiries

from dealerships, Agora and its undersigned counsel have had to expend significant resources

responding to inquiries from dealerships concerning the funding they were promised.

    B. Debtor’s Failure to Deliver Title, Failure to Assure Valid Finance Transactions, and
       Failure to Furnish Agora with Critical Servicing Records.

        25.     The MRAs require a valid certificate of title for each vehicle that serves as collateral

for the portfolio of RICs that are transferred to Agora and that each certificate of title notes Agora

holds a valid first security lien. Ex. 1, § 4.2(o).

        26.     Despite the foregoing requirements, Agora has discovered Debtor has failed to

perfect Agora’s liens, or have released liens on vehicles that serve as collateral on purchased RICs

without Agora’s express, written permission.


                                                               5
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                Case 23-11339-MAM                   Doc 34         Filed 03/20/23            Page 6 of 12

CASE NO.: 23-11339-MAM


        27.      Debtor has failed, and continues to fail, to deliver clear marketable title to 239

vehicles for RICs purchased and funded by Agora. Debtor also failed to deliver to Agora

certificates of title with the Receivable files for multiple vehicles. A list of the vehicles without

title is attached hereto as Exhibit 6. Debtor was provided with multiple notices of these failures

prior to the filing of Agora’s lawsuit against the Debtor and Debtor failed to cure these material

breaches.

        28.      On January 4, 2023, Agora filed a lawsuit against the Debtor, and its related entities,

in the United States District Court, Southern District of Florida, Case No. 23-cv-80007

(“Lawsuit”).2

        29.      On February 20, 2023, Debtor filed its Voluntary Petition for Relief pursuant to

Chapter 11 of the United States Bankruptcy Code. [DE 1].

        30.      On February 21, 2023, this Honorable Court entered an order authorizing the

Debtor to continue operation of its business as a debtor-in-possession. [DE 7]. Accordingly,

Debtor continues to operate its business.

        31.      Prior to Agora filing the Lawsuit and Debtor filing the instant bankruptcy, Debtor

revoked Agora’s access from ADD123, which is used, among other things, to apply for certificates

of title with a state’s department of motor vehicles, notes the secured lender’s lien, or releases the

lien.




2
 Agora respectfully requests this Honorable Court to take judicial notice of the Lawsuit. “Federal Rule of Evidence
201 permits a court to ‘judicially notice’ a fact that is not subject to reasonable dispute because it … can be
accurately and readily determined from sources whose accuracy cannot reasonably be questioned.” Williams v.
Dep’t of Corrections, 824 Fed. App’x 914, 916 (11th Cir. 2020). “[J]udicial notice of court records is ordinarily
confined to determining what happened in the course of a proceeding – when a plaintiff filed a complaint, what
claims were argued and adjudicated, and so on.” Regions Bank v. NBV Loan Acquisition Member, LLC, No. 21-
23578-CIV-Moreno/Goodman, 2022 WL 17359786, at *2 (S.D. Fla. Dec.1,2020).
                                                                 6
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                Case 23-11339-MAM                Doc 34         Filed 03/20/23            Page 7 of 12

CASE NO.: 23-11339-MAM


          32.   Agora requires access to ADD123 to ensure security liens on the vehicles used as

collateral securing the RICs have been perfected in Agora’s or Debtor’s name. Agora’s ability to

protect and manage their liens on the vehicles that secure the Receivables is critical to properly

service the RICs, to Agora’s customers’ use and enjoyment of the vehicles, and to prevent future

priority disputes that may arise in the form of towing liens, mechanic liens, or if the vehicles are

stolen.

          33.   Debtor is contractually obligated to provide Agora with access to ADD123, and

essential when servicing the RICs to ensure that Agora complies with the Federal Driver’s Privacy

Protection Act and so that they can exchange vehicle, title and lien information electronically with

a state’s department of motor vehicles.

          34.   More specifically, pursuant to Section 2.7 of the MRAs:

                “[Debtor] shall (1) provide [Agora] a full data file with respect to all
                of Originator’s new originations on a monthly basis and (2) provide
                [Agora] with log-in credentials to [Debtor’s] dealer management
                system granting [Agora] read, download and data extra capabilities.

          35.   Debtor’s revocation of Agora’s access to ADD123 is a material breach of the

MRAs, and demonstrates its continued interruption of Agora’s ability to properly service the

RICs it purchased, causing extensive, continuing damage to Agora and its relationship with its

customers. See Agora’s Complaint [DE 1] filed in the Lawsuit, passim.

          36.   Additionally, Debtor has failed to furnish Agora with the paper titles, which it

would need in the event a customer chooses to move from one state to another. Debtor has also

failed to furnish Agora with other important documents associated with the RICs Agora purchased

including correspondences and notices from insurance companies, bankruptcy courts, and



                                                              7
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                Case 23-11339-MAM                   Doc 34         Filed 03/20/23            Page 8 of 12

CASE NO.: 23-11339-MAM


impound companies3 that may claim an interest in the vehicles. These documents are essential to

Agora’s security interests and to properly service the loans by ensuring Agora does not violate any

automatic stay or other court orders; minimize fees and fines that may result in the imposition of

liens that could ultimately deprive it of their secured lien; or lose the vehicle due to abandonment.

    C. Debtor’s Improper Release of Liens.

         37.      Debtor has improperly released the liens reflected on the title of multiple vehicles

securing the RICs acquired by Agora without Agora’s consent. Agora cannot provide a complete

list because Debtor revoked its access to ADD123, which would provide this information.

         38.      Specifically, after Agora purchased and received assignment of multiple RICs

pursuant to the MRAs, Debtor released liens reflected on vehicles’ title to various dealerships

despite Agora’s acquisition of superior bona fide purchaser interest in the vehicles.

         39.      Further, Debtor released the title to these vehicles after Agora notified the

consumers of the transfer in servicing of RICs and after Agora’s loan servicer began receiving

payments under the RICs.

         40.      This has caused significant harm to Agora’s innocent consumers who purchased

vehicles from dealerships and were using and enjoying the vehicles while making payment to

Agora.

         41.      Additionally, these actions have, and continue to cause, significant reputational

damage to Agora because several dealerships have contacted Agora demanding payment under the

impression that Agora is affiliated with Debtor, which it is not.


3
  States across the country provide rights to tow companies, body shops, and government agencies to impose liens on
vehicles in the event that charges for mechanical or towing work goes unpaid. In connection with many states’
statutory schemes governing these liens, entities imposing liens on vehicles have the right to foreclose their liens and
sell the vehicles provided that the owners and interested parties (including lienors) are provided with notice. Without
the notation of Plaintiffs’ liens on the vehicles or the customer’s names on title, Plaintiffs and Plaintiffs’ customers
are at risk of not receiving these notices and potentially losing their security interests in the vehicles.
                                                                 8
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              Case 23-11339-MAM                  Doc 34         Filed 03/20/23            Page 9 of 12

CASE NO.: 23-11339-MAM


       42.     Upon the filing of a Chapter 11 bankruptcy, “a fiduciary is installed to manage the

estate in the interest of the creditors. §§ 1106, 1107(a). This fiduciary, often the debtor’s existing

management team, as ‘debtor in possession.’ 1101(1), 1104.” Czyzewski v. Jevic Holding Corp.,

580 U.S. 451, 455 (2017). “One of the most difficult concepts an individual Chapter 11 debtor

has to grasp is that once he files bankruptcy he has a fiduciary duty to his creditors to act in the

best interest of the bankruptcy estate. That means [the debtor in possession] must generally put

the interest of his creditors ahead of his own interests.” In re Climate Control Mech. Servs., Inc.,

585 B.R. 192, 201 (Bankr. M.D. Fla. 2018) (internal quotation marks and citations omitted). “To

accomplish his fiduciary responsibility, he must act in a transparent, forthright, and candid manner

and work to benefit the bankruptcy estate even if that may be a detriment to him individually.” Id.

(internal quotation marks and citation omitted).

       43.     “[A debtor in possession] cannot avoid the secured creditor whose security interest

was perfected on the petition date….” In re Colony Beach & Tennis Club, Inc., 508 B.R. 468, 480

(Bankr. M.D. Fla. 2014). “[A] security interest in a motor vehicle is perfected by the secured party

noting its interest on the certificate of title.” In re Carcorp, Inc., 272 B.R. 365, 370 (Bankr. S.D.

Fla. 2002) (citing Fla. Stat. § 679-302(3)(b); Fla. Stat. § 319.27(1)).

               Florida’s Certificate of Title Statute § 319.27(1) provides in
               pertinent part:

               Each lien, mortgage or encumbrance on a motor vehicle [] title in
               this state shall be noted upon the face of the Florida certificate of
               title or on a duplicate or corrected copy thereof, as provided by law
               ….

Id.




                                                              9
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             Case 23-11339-MAM                  Doc 34         Filed 03/20/23            Page 10 of 12

CASE NO.: 23-11339-MAM


       45.     Here, Debtor has a fiduciary obligation to act in Agora’s best interests as one of its

secured creditors by ensuring it perfects the liens on all vehicles that represent the collateral to

secure the RICs purchased by Agora.

       46.     However, based on Debtor’s history of failing to perfect liens, or outright releasing

liens on vehicles to RICs Agora has purchased, Agora requires access to ADD123 to ensure its

liens have been perfected and to ensure Debtor will not improperly release the liens to Agora’s

detriment.

       47.     Allowing Agora access to ADD123, as provided for in the MRAs, works for the

benefit of all Debtor’s creditor’s and the bankruptcy estate as a whole, because it will provide

adequate assurances to Agora that its liens will be protected.

       48.     Moreover, based on Debtor’s history, the Court should further order the Debtor to

(i) produce to Agora any notices received by mail or email from impounds, insurance companies,

dealers, bankruptcy courts; (ii) cease all communications with Agora’s consumers and the dealers;

and (iii) refer any inquiries from Agora’s customers to Agora. Entering such an order will further

provide adequate assurances to Agora that the Debtor will not breach its fiduciary duties by

improperly interfering with Agora’s ownership and servicing of the RICs.

       49.     In summary, Agora requires access to ADD123 to ensure that the certificates of

title to the vehicles that are collateral to the RICs it purchased from Debtor properly note Agora or

Atlantic as the first lienholder. Further, Debtor is required to provide Agora with paper titles, and

turn over all mail and emails from impounds, insurance companies, dealers, bankruptcy courts,

paper titles because the MRAs executed between the parties requires Debtor to do so and it is

critical for Agora to properly service the loans. Otherwise, Agora could be found to have violated

an automatic stay or other court order, or lose its security interest because of the imposition of

                                                             10
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             Case 23-11339-MAM                 Doc 34         Filed 03/20/23            Page 11 of 12

CASE NO.: 23-11339-MAM


towing and/or storage liens. Finally, Agora requires the Debtor to cease all communications with

Agora’s customers and dealers and to refer all Agora’s customers’ inquiries to Agora to prevent

any interference with Agora’s ownership of the loans, or with its loan servicing



                                                 VERIFICATION

   Under penalties of perjury under the laws of the United States, I declare that I have

   read the foregoing, and that to the best of my knowledge the facts alleged herein are

   true and correct.



                                                       ___________________________________
                                                       Chris Hawke
                                                       Chief Financial Officer / Chief Legal Officer
                                                       Agora Data, Inc.




                                                            11
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            Case 23-11339-MAM                  Doc 34         Filed 03/20/23            Page 12 of 12

CASE NO.: 23-11339-MAM




                            20 day of March, 2023.
Respectfully submitted this __

                                                                 Respectfully submitted,
                                                                 /s/ James R. Liebler II
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                                                                 Attorneys for Plaintiffs


                                     CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this ___ day of March, 2023, I electronically caused the

foregoing document to be filed with the Clerk of Court using CM/ECF. I also certify that the

foregoing document is being served this day on all counsel of record in the manner specified via

transmission of Notices of Electronic Filing generated by CM/ECF.

                                                                 /s/ James R. Liebler II
                                                                 JAMES R. LIEBLER II
                                                                 IRA SCOT SILVERSTEIN




                                                            12
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